Case 8:16-cv-01651-MSS-TBM Document 15 Filed 10/19/16 Page 1 of 1 PageID 70



                                  UNTIED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION
MISHA BLAKE,

       Plaintiff,
                                                              CASE NO.: 8:16-CV-01651-MSS-TBM
-vs-

GENERAL MOTORS FINANCIAL COMPANY, INC.,

       Defendant
                                          /

                                    NOTICE OF PENDING SETTLEMENT

         Plaintiff, MISHA BLAKE, by and through the undersigned counsel, hereby notifies the Court that

the parties, Plaintiff, MISHA BLAKE, and Defendant, GENERAL MOTORS FINANCIAL COMPANY,

INC., have reached a settlement with regard to this case, and are presently drafting, and finalizing the

settlement agreement, and general release documents. Upon execution of the same, the parties will file

the appropriate dismissal documents with the Court.

                                      CERTIFICATE OF SERVICE

         I hereby certify that on October 19, 2016, I electronically filed the foregoing with the Clerk of the

Court by using the CM/ECF system and that a Notice will be sent to the following by the Court’s

Electronic Filing System: John R. Chiles, Esquire, Burr Forman, Las Olas Centre I 450 East Las Olas

Suite 700, Fort Lauderdale, FL 33301; (jchiles@burr.com); Jacqueline A. Simms-Petredis, Esq., Burr &

Forman LLP, 201 North Franklin Street Suite 3200, Tampa, FL 33602 (jsimms-petredis@burr.com).

                                                    /s/Frank H. Kerney, III, Esquire
                                                    Frank H. Kerney, III, Esquire
                                                    Florida Bar #: 88672
                                                    Morgan & Morgan, Tampa, P.A.
                                                    One Tampa City Center
                                                    201 North Franklin Street, 7th Floor
                                                    Tampa, FL 33602
                                                    Telephone: (813) 223-5505
                                                    Facsimile: (813) 223-5402
                                                    fkerney@forthepeople.com
                                                    jkneeland@forthepeople.com
                                                    cfallara@forthepeople.com
                                                    Counsel for Plaintiff
